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                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9          UNITED STATES OF AMERICA,                         CASE NO. CR16-0136-JCC
10                              Plaintiff,                    MINUTE ORDER
11                  v.

12         OSCAR URIEL BARRON-
        GONZALEZ and RUBEN MOTA
13      ALVAREZ,
14                              Defendants.
15

16          The following Minute Order is made by direction of the Court, the Honorable John C.
17   Coughenour, United States District Judge:
18          This matter comes before the Court on Defendant Oscar Uriel Barron-Gonzalez’s motion
19   to continue trial (Dkt. No. 137) and speedy trial waiver (Dkt. Nos. 138, 155), and Defendant
20   Ruben Mota Alvarez’s joinder in Defendant Gonzalez’s motion to continue trial (Dkt. No. 147)
21   and speedy trial waiver (Dkt. No. 152). Trial is currently scheduled for June 19, 2017.
22          The Court, having reviewed the record and files in this case and after a consideration of
23   all relevant information and the circumstances of this case, finds that the ends of justice will best
24   be served by continuing the trial date and pretrial motions deadline in this matter. The Court
25   finds that these considerations outweigh the best interests of the public and Defendants in a
26   speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7)(A).


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 1          The Court further finds that the failure to grant such a continuance in this case would

 2   likely result in a miscarriage of justice because Defendants would be denied the reasonable time

 3   necessary for effective preparation, taking into account the exercise of due diligence. 18 U.S.C.

 4   § 3161(h)(7)(B)(i) and (iv).

 5          It is hereby ORDERED:

 6          1. Defendants’ unopposed motions to continue trial date and pretrial motions deadline

 7              (Dkt. Nos. 137 and 147) are GRANTED.

 8          2. Pretrial motions shall be filed by August 18, 2017.
 9          3. The trial date shall be Monday, November 2, 2017 at 9:00 a.m.
10          4. The period of time between the current trial date of June 19, 2017 and November 30,
11              2017 shall be excludable for purposes of calculating the time limitations applicable to
12              the Speedy Trial Act, 18 U.S.C. § 3161 et seq.
13

14          DATED this 12th day of June 2017.
15                                                          William M. McCool
                                                            Clerk of Court
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                                                            /s/Paula McNabb
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                                                            Deputy Clerk
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